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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT, et al.,            :   CIVIL ACTION NO. 1:16-CV-2145
                                         :
                    Plaintiffs           :   (Chief Judge Conner)
                                         :
             v.                          :
                                         :
THE MILTON HERSHEY SCHOOL                :
AND SCHOOL TRUST, et al.,                :
                                         :
             Defendants                  :

                                    ORDER

      AND NOW, this 15th day of October, 2018, upon conclusion of today’s

telephonic conference in this matter, it is hereby ORDERED that any further

documents filed in regard to the pending motion for summary judgment (Doc. 158)

shall be filed under seal.



                                     /S/ CHRISTOPHER C. CONNER
                                     Christopher C. Conner, Chief Judge
                                     United States District Court
                                     Middle District of Pennsylvania
